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                              No. 24-10386

             UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT

                             STATE OF TEXAS,
                                              Plaintiff - Appellee
                                      v.
    MERRICK GARLAND, U.S. ATTORNEY GENERAL, IN HIS OFFICIAL CAPACITY AS
 UNITED STATES ATTORNEY GENERAL; CHARLOTTE A. BURROWS, IN HER OFFICIAL
 CAPACITY AS CHAIR OF THE U.S EQUAL EMPLOYMENT OPPORTUNITY COMMISSION;
  JOCELYN SAMUELS, IN HER OFFICIAL CAPACITY AS VICE CHAIR OF THE U.S EQUAL
  EMPLOYMENT OPPORTUNITY COMMISSION; KEITH SOLDERLING, IN HIS OFFICIAL
    CAPACITY AS COMMISSIONER OF THE U.S EQUAL EMPLOYMENT OPPORTUNITY
 COMMISSION; ANDREA R. LUCAS, IN HER OFFICIAL CAPACITY AS COMMISSIONER OF
THE U.S EQUAL EMPLOYMENT OPPORTUNITY COMMISSION; CHRISTOPHER W. LAGE,
   IN HIS OFFICIAL CAPACITY AS GENERAL COUNSEL OF THE EQUAL EMPLOYMENT
   OPPORTUNITY COMMISSION; EQUAL EMPLOYMENT OPPORTUNITY COMMISSION;
                     UNITED STATES DEPARTMENT OF JUSTICE,
                                               Defendants - Appellants

BRIEF OF SENATE REPUBLICAN LEADER MITCH MCCONNELL AS
        AMICUS CURIAE IN SUPPORT OF APPELLANTS

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     August 16, 2024
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      SUPPLEMENTAL STATEMENT OF INTERESTED PERSONS
       Pursuant to Fifth Circuit Rule 29.2, the undersigned counsel certifies that the

following listed persons and entities have an interest in the outcome of this case. This

representation is made so that the Court may evaluate possible disqualification or

recusal.

       Amicus Curiae: Senator Mitch McConnell, as senior United States Senator

from the Commonwealth of Kentucky, and as the Republican Leader of the United

States Senate.

       Counsel for Amicus: William P. Barr, Justin M. Romeo, Genevieve M. Kelly,

of Torridon Law PLLC, Washington, D.C.



       Dated: August 16, 2024

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                           INTEREST OF AMICUS CURIAE1

       Senator Mitch McConnell is the senior United States Senator from the

Commonwealth of Kentucky and the Republican Leader in the United States Senate,

where he is the longest-serving leader in Senate history. He was previously Senate

Majority Whip and Chairman of the Senate Rules Committee.

       Senator McConnell is a respected senior statesman and a passionate defender of

both Senate tradition and constitutional separation of powers. Senator McConnell

understands and respects the critical role the Judiciary plays in interpreting the law and

in ensuring that neither Congress nor the Executive Branch exceed their constitutional

bounds. For example, in NLRB v. Noel Canning, 573 U.S. 513 (2014), a case concerning

executive encroachment into the Senate’s advice and consent power, he led the

Republican conference as amici curiae at the Supreme Court petition and merits stages.

There Senator McConnell defended the Senate’s constitutionally-assigned right to set

the rules of its proceedings, including the determination of when it is in session, how it

conducts business, and how it constitutes a quorum.

       Senator McConnell has also himself sought recourse from the Judiciary when

legislation has run afoul of the Constitution. For example, he was the lead plaintiff in

McConnell v. FEC, 540 U.S. 93 (2003), a case which challenged the Bipartisan Campaign


1
  Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), Amicus states that no party’s counsel
authored this brief in whole or in part, and no entity or person other than Amicus or his counsel made
a monetary contribution intended to fund the preparation or submission of this brief. All parties have
consented to the filing of this brief. Fed. R. App. P. 29(a)(2).
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Reform Act of 2002, Pub. L. No. 107-155, 116 Stat. 81 (2002), as violating of the First

Amendment.

       In this case, Senator McConnell was the Majority Leader of the Senate when the

House first adopted proxy voting. From that leadership post, he spoke out in strong

opposition to the practice, in part because of the legal controversies it could present.2

Senator McConnell also served as the Republican Leader of the Senate when the law

partially enjoined by the district court below, the Consolidated Appropriations Act of

2023, Pub. L. No. 117-328, 136 Stat. 4459 (2022), was debated and enacted. Despite

his fierce opposition to proxy voting, Senator McConnell believes it critical that courts

nevertheless respect each house of Congress’s power to “determine the Rules of its

Proceedings.” U.S. Const. art. I, § 5, cl. 2. Accordingly, Senator McConnell urges the

Court to reverse.




2
 Andrew Desiderio and John Bresnahan, McConnell warns House Democrats over proxy voting on floor,
POLITICO (May 21, 2020), https://tinyurl.com/42scrcne.
                                               2
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            INTRODUCTION AND SUMMARY OF ARGUMENT

       Amicus opposes proxy voting. As a seasoned legislator, he believed proxy voting

was unnecessary to conduct business during the COVID-19 pandemic and would invite

unproductive controversy, a position he made clear when it was first adopted. In his

role as Majority Leader, Senator McConnell kept the Senate operating during the

pandemic without resort to proxies. Indeed, without proxies, the Senate under his

leadership was able to pass the Coronavirus Aid, Relief, and Economic Security Act,

Pub. L. No. 116-136, 134 Stat. 281 (2020), the National Defense Authorization Act for

Fiscal Year 2021, Pub. L. No. 116-283, 134 Stat. 3388 (2021), and the Great American

Outdoors Act, Pub. L. No. 116-152, 134 Stat. 682 (2020), and to confirm Justice Amy

Coney Barrett to the Supreme Court.

       But the merits of proxy voting are not properly before this Court. The core

question in this case is whether the courts can review the internal affairs of Congress,

when such affairs are textually committed to each house by the Constitution. They

cannot. Article I, Section 5 of the Constitution assigns the power to each house of

Congress to “determine the Rules of its Proceedings.” In 1892, the Supreme Court

relied on that principle to hold that, with very limited exceptions, Congress’s power to

set its own rules is “absolute and beyond the challenge of any other body or tribunal.”

United States v. Ballin, 144 U.S. 1, 5 (1892). This principle of deference derives from “the

Constitution’s broad delegation of authority to [Congress] to determine how and when

it conducts business.” NLRB v. Noel Canning, 573 U.S. 513, 550 (2014).
                                             3
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       Ballin held that courts may not opine on the manner in which Congress conducts

its business where the text of the Constitution does not place express limits on

congressional action. The district court misapplied that holding, assigning to itself the

duty to define terms that the Framers never intended courts to interpret. The judgment

below grafts onto Article I a new, atextual limitation on Congress’s discretion to

assemble a quorum. In so doing, it disregards the deference owed to Congress and

undermines the very purpose of the Quorum Clause, which was meant to ensure that

business could continue notwithstanding the unavailability of some members. The

ruling below is also inconsistent with the enumerated powers granted to Congress under

Article I.

       What’s more, the district court’s retooling threatens Congress’s ability to conduct

business on a day-to-day basis. An ironclad physical presence requirement removes

necessary flexibility during national emergencies. It risks invalidating longstanding

Senate procedures, particularly the ubiquitous practices of unanimous consent and

voice votes. Finally, it imperils a significant portion of already-enacted legislation.

       Amicus disagrees with how the House exercised its Article I powers in adopting

proxy voting, but neither he nor the Judiciary is in a position to second-guess that

decision.




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                                       ARGUMENT

I.     The District Court Misapplied Settled Precedent, Taking A Standard
       Established By The Supreme Court For Restraint In Reviewing
       Congressional Rules As A License For Free-Flowing Analysis.

       Article I, Section 5 of the Constitution assigns to each house of Congress the

power to “determine the Rules of its Proceedings.” U.S. Const. art. I, § 5, cl. 2. In

Ballin v. United States, the Supreme Court held that, in most circumstances, Congress’s

power over its own rule is “absolute and beyond the challenge of any other body or

tribunal.” United States v. Ballin, 144 U.S. 1, 5 (1892). The district court’s decision

violated the core tenant of Ballin and should be reversed.

       The Constitution’s exclusive assignment of rulemaking power to each chamber

is fundamental to the separation of powers. As James Madison explained in 1788, “the

great security” against the concentration of powers in a single branch “consists in giving

to those who administer each department the necessary constitutional means and personal

motives to resist encroachments of the others.” The Federalist No. 51 (James Madison)

(emphasis added).

       The Supreme Court directly addressed this issue of potential encroachment in

United States v. Ballin, a 1892 case strikingly similar to this one. Ballin involved a challenge

to a House Rule that established a new manner of ascertaining a quorum. Ballin, 144

U.S. at 9. Plaintiffs challenged the practice of counting members as present who were

in the hall of the House Chamber, but who did not vote. Id. at 4. The Supreme Court

rejected the challenge under the deference owed by the separation of powers. Id. To
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that end, Ballin provided narrow exceptions for when a court may review an internal

congressional rule. Review may only occur when a rule flouts constitutional restraints,

infringes fundamental rights, or has no reasonable relation between its means used and

the result sought. Id. at 5. Outside of those categories, Congress’s “continuous power”

to craft and modify its rules is “absolute and beyond the challenge of any other body or

tribunal.” Id. “Neither the wisdom or folly of such a rule present any matters for

judicial consideration.” Id. (cleaned up).

       Unpacking the Ballin exceptions, Texas has not argued, nor did the district court

hold, that the House Rule at issue here, or the manner of passage of the Appropriations

Act, infringed fundamental rights. There are many examples of cases where Congress

was held to infringe fundamental rights through, for instance, its investigative activities.

And some of these cases turned on application of congressional rulemaking. A quick

look shows how distinct those cases are from this dispute. For instance, during the

height of international-communist infiltration of American institutions in the mid-

twentieth century, the Supreme Court reined in the House’s investigative activities when

it encroached on the rights of private citizens. This included, in one instance, holding

Congress to account for violating its own rules. Yellin v. United States, 374 U.S. 109, 123-

24 (1963) (overturning conviction after hold that, as a matter of due process, a witness

was entitled to have a House Committee comply with its own rules). In Gojack v. United

States, 384 U.S. 702 (1966), the Supreme Court threw out another contempt conviction,

holding that the House Committee “fail[ed] to authorize its own investigation.” Id. at
                                             6
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714. And in Quinn v. United States, 349 U.S. 155 (1955), the Supreme Court overturned

a contempt conviction because a House Subcommittee trampled on the witness’s Fifth

Amendment rights. Id. at 166. In sum, vindicating individual rights is an essential duty

of the courts, but this case does not fall into the “fundamental rights” exception

permitting judicial review.3

        Neither did Texas argue, nor did the district court hold, that review is appropriate

under the Ballin exception for rules lacking a reasonable relation between the means

prescribed and the end sought to be obtained. Nor could it. President Trump declared

COVID-19 to be a national emergency on March 13, 2020.4 In April 2020, nearly

60,000 Americans lost their lives to COVID.5 The prevailing advice on how to prevent

catastrophic loss of life was “social distancing.”6 Because physical proximity could be

deadly, the pandemic threatened to stifle congressional business. The Senate under

Senator McConnell’s leadership successfully continued business in person. The House




3
 The constitutional provision in Quinn was an individual right, held by the target of the investigation
under the Constitution. The Quorum Clause, by contrast, is a general administrative provision of the
Constitution, vesting no such rights on any individuals.
4
 Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19)
Outbreak, 85 Fed. Reg. 15,337 (Mar. 13, 2020), https://tinyurl.com/4tv7j5jc.
5
 Jorge L. Ortiz, When will US reach 100,000 deaths? After a horrific April, grim milestone could hit in May,
USA TODAY (May 1, 2020), https://tinyurl.com/4933js46; Deaths by Select Demographic and
Geographic Characteristics, CDC (rev. Sept. 27, 2023), https://tinyurl.com/28f2c54n.
6
   See Siobahn Roberts, Flattening the Coronavirus Curve, NY Times (Mar. 27, 2020),
https://tinyurl.com/5n74bf25.
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adopted proxy voting. While proxy voting was not the best response to COVID, it was

still reasonably tailored to keeping the House in business during a pandemic.

       The district court was thus left with the final Ballin exception, whether the rule

“ignore[s] constitutional restraints.” Ballin, 114 U.S. at 5. The district court read this

exception as broad license to decide what it believed was the best interpretation of a

constitutional phrase. But the central tenant of Ballin was deference, not free-flowing

inquiry.

       Plaintiffs in Ballin challenged a new House Rule that permitted non-voting

members present in the hall of the House Chamber to be counted toward a quorum.

Id. at 4. To assess the propriety of this challenge, the Court did not parse the language

of the Quorum Clause or nearby text, nor did it consult dictionaries or The Federalist

Papers to deduce the meaning of “quorum.” Instead, it simply read the clause: “a

Majority of each shall constitute a Quorum to do Business.” U.S. Const. art. I, § 5, cl. 1.

Seeing no express language as to how a quorum is to be constituted, and no express

language foreclosing the House’s interpretation of the clause, the Supreme Court ended

its inquiry. Ballin, 144 U.S. at 6. To the question of “how shall the presence of a

majority be determined” the Court answered, “[t]he constitution has prescribed no

method of making this determination, and it is therefore within the competency of the

house to prescribe any method which shall be reasonably certain to ascertain the fact.”

Id.


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        Ballin thus established the principle that courts will not review a rule under the

“constitutional restraints” exception unless the rule is challenged as violating an express

constitutional restraint. Under that principle, Ballin concluded that the Constitution’s

prescription that “a Majority of each [house] shall constitute a Quorum to do Business”

in no way forecloses counting members in the hall of the chamber. U.S. Const. art. I,

§ 5, cl. 1.

        Here, Texas’s case relies on the phrase “a smaller Number [of members]

may . . . be authorized to compel the Attendance of absent Members.”                 See, e.g.,

ROA.69, 73-74. But what does it mean to attend? Is the phrase “compel the

Attendance” any more definitive than the phrase “constitute a Quorum”? Because it is

not, the House’s interpretation of “attendance” is “absolute and beyond the challenge

of any other body or tribunal.” Ballin, 144 U.S. at 4.

        The district court attempted to justify its reading of license under Ballin by placing

heavy emphasis on Justice Breyer’s use of the word “valid” in NLRB v. Noel Canning,

573 U.S. 513 (2014). In Noel Canning the Court had to decide whether to defer to the

Senate’s own statement that it was in session, which depended on the Chamber’s

unanimous consent practice (through which the Senate may conduct business during

pro forma sessions). Id. at 550-51. The Supreme Court stated that “when the Journal of

the Senate indicates that a quorum was present, under a valid Senate rule, at the time the

Senate passed a bill, we will not consider an argument that a quorum was not, in fact,

present.” Id. at 551 (emphasis added) (citing Ballin, 114 U.S. at 9). The district court
                                              9
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here read this single word—valid—to invite a wide-open inquiry into the “valid[ity]” of

congressional rules. ROA.1350–56. But nothing in the analysis of Noel Canning

suggested that interpretation. Noel Canning’s direct citation to Ballin suggests that the

word “valid” merely referenced Ballin’s exceptions to the general rule of deference. As

explained above, nothing in Ballin supports a blue-sky inquiry into a definition of

“quorum” that could hamstring congressional rulemaking.

        In sum, the Supreme Court in Noel Canning and Ballin deferred to the Senate and

the House’s own determinations of whether a quorum was present. Neither undertook

to scrutinize the validity of the manner in which the houses of Congress made those

determinations. Ballin held and Noel Canning confirmed that the Quorum Clause gives

unreviewable deference on this question to Congress. Ballin, 144 U.S. at 6; Noel Canning,

573 U.S. at 551.

        The district court also misapplied United States v. Munoz-Flores, 495 U.S. 385

(1990). Munoz-Flores involved the Origination Clause, which states that “All Bills for

raising Revenue shall originate in the House of Representatives.” Id. at 388 (quoting

U.S. Const., art. I, § 7, cl. 1). But the Origination Clause on its face provides an express

constitutional restraint to apply: a bill for the raising of revenue must originate in the

House. Munoz-Flores does not support Plaintiffs’ position here.7




7
 The district court cited Munoz-Flores as support for rejecting application of the Enrolled Bill Doctrine.
ROA.1343–48. That was error given the distinct nature of the case. See Appellants Br. at 24.
                                                   10
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      Deference to congressional rulemaking stems from the same principles inherent

in the Political Question Doctrine and the Enrolled Bill Doctrine. The Political

Question Doctrine mandates deference on questions purely political in nature,

including those concerning “a demonstrable constitutional commitment of the issue to

a coordinate political department,” and those that lack “judicially discoverable and

manageable standards.” Baker v. Carr, 369 U.S. 186, 217 (1962). For example, in Nixon

v. United States, 506 U.S. 224 (1993), the Supreme Court held that the word “try” in the

Impeachment Clause “lacks sufficient precision to afford any judicially manageable

standard of review of the Senate’s actions.” Id. at 230. Speaking on the open-ended

nature of gerrymandering claims, the Supreme Court explained that “[a]ny standard for

resolving such claims must be grounded in a ‘limited and precise rationale’ and be ‘clear,

manageable, and politically neutral.’” Rucho v. Common Cause, 588 U.S. 684, 703 (2019)

(quoting Vieth v. Jubelirer, 541 U.S. 267 at 306-08 (2004) (Kennedy, J., concurring in the

judgment)).

      A similar problem arises here. The district court found a judicial role in reading

the Quorum Clause to impose a physical presence requirement. But what is meant by

physical presence? Does physical presence require members to be on the Floor? Does

vestibule voting count? In the House, where voting is done by electronic card, can one

member use another member’s card while its owner waits in the cloakroom? What

about voting from the galleries? The House and Senate have rules and precedents to

account for these situations: are those rules subject to judicial review? Will the courts
                                           11
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effectively be in the business of establishing a code of rules for how the House and

Sente conduct business? The court did not begin to provide an answer to these

questions, nor can it.

       The district court also erred by declining to apply the Enrolled Bill Doctrine to

this case, as explained by Appellants. Appellants Br. at 19-28. In Marshall Field & Co.

v. Clark, 143 U.S. 649, 672 (1892), the Supreme Court declined to pour through

legislative history, including potentially “the journals, loose papers of the legislature,

and parol evidence,” to adjudicate whether certain text was missing from a version of a

bill actually voted on. Id. at 675 (quoting Sherman v. Story, 30 Cal. 253, 275 (Cal. 1866)).

In rejecting the claim, the Court set forth a sensible bright-line rule: the enrollment of

a bill (signed by leaders of both houses, assented to by the President, and deposited in

the public archives) precludes judicial review over the manner of its passage. Marshall

Field, 143 U.S. at 672. That doctrine also resolves this case.

       Finally, the district court also erred by equating its interpretive actions here to

“standard constitutional interpretation that courts routinely undertake.” ROA.1365-66.

Courts are routinely called upon to examine the substance of legislation against the

powers and protections afforded by the Constitution. But a look at a few prominent

examples shows just how different that task is from what occurred here. In National

Federation of Independent Business v. Sebelius, 567 U.S. 519 (2012), the Supreme Court held

that the Affordable Care Act’s draconian Medicaid expansion provisions constituted an

unconstitutional coercion of the States under the Spending Clause. Id. at 581-82. In
                                            12
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Citizens United v. FEC, 558 U.S. 310 (2010), the Court struck down provisions of the

Bipartisan Campaign Reform Act of 2022 as violating the First Amendment. Id. at 366-

71. And in Gonzales v. Carhart, 550 U.S. 124 (2007), the Supreme Court upheld the

constitutionality of the Partial-Birth Abortion Ban Act. Id. at 168. These types of

“standard” judicial review of the substantive legality of a law juxtapose themselves from

the type of process review undertaken by the district court below.

      Because judicial review in this case must yield to the deference owed to Congress

under the Constitution’s separation of powers, the judgment should be reversed.

II.   Even If Review Were Appropriate, The District Court’s Interpretation
      Finds No Support In Article I Or In Founding-Era History.

      Even if it were appropriate for the district court to venture down the path of

deciding the best interpretation of the Quorum Clause, it arrived at the wrong place.

The district court’s interpretation undermines Congress’s Article I powers and

misapplies contemporaneous evidence of the meaning of the clause. These realities are

grounds for reversal in their own right, and they also provide additional support for the

principle of deference established above.

      Article I of the Constitution begins: “All legislative Powers herein granted shall be

vested in a Congress of the United States, which shall consist of a Senate and House of

Representatives.” U.S. Const. art. I, § 1 (emphasis added). These legislative powers

are, of course, enumerated, and among them are the “Power To lay and collect Taxes,

Duties, Imposts and Excises, to pay the Debts and provide for the common Defence

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and general Welfare of the United States.” U.S. Const. art. I, § 8, cl. 1. Congress shall

also have the power to borrow money, regulate commerce and currency, constitute the

lower courts, oversee federal lands, declare war, and make all laws necessary and proper

for executing its own powers and the other federal powers established by the

Constitution. U.S. Const. art. I, § 8, cl. 2-18.

       To this list of enumerated powers, the district court would place an asterisk: these

congressional powers are null and void during any emergency that prevents a majority

of members from being physically present together when they establish a quorum.

Putting aside the merits of the proxy-voting rule at issue in this case, and arguments

over its necessity, in the district court’s view, the Constitution never, no matter how

grave an emergency the United States faces, “allows the House to adopt a mechanism

to deem those [physically] absent members present and part of the quorum.”

ROA.1391. This debilitating reading of Article I turns its central purpose on its head.

       The purpose of the Quorum Clause is to enable legislative business, not to

hobble it. As the district court acknowledged, the Framers intended the Quorum

Clause to serve two related purposes: facilitate the houses’ ability to conduct business

and impede minority factions from unduly influencing that business. ROA.1377-78.

The former goal grew from a concern that requiring too many members for a quorum

could empower an absent faction. As the court noted, John Mercer described this

concern as “the power of a few [to] seced[e] at a critical moment to introduce

convulsions, and endanger the Government.” ROA.1377 (citation omitted). On the
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other hand, a quorum rule that was too relaxed could empower action by any minority

of members able to assemble in the capital. As George Mason put it, “it would be

dangerous . . . to allow a small number of members of the two Houses to make laws”

when some members from “[t]he Central States” could reach the capital more easily

than others and enact legislation before other members had an opportunity to

participate. ROA.1378 (citation omitted).

      Just as the goals of the Quorum Clause are served when Congress counts

physically present but non-voting members toward a quorum, Ballin, 144 U.S. at 5-6, so

might Congress further those goals in an emergency by counting physically absent, but

voting members toward a quorum (as occurred here). If merely the “majority of [a]

quorum [is] sufficient to decide the most important question,” i.e., to enact legislation,

then certainly the majority of a house of Congress can still decide important questions

after deeming some of its members unable to conduct business face to face. Ballin, 144

U.S. at 8 (quoting State v. Deliesseline, 12 S.C.L. 52, 62 (S.C. Const. App. 1821)). After

all, “the requirement of a quorum . . . was not intended to furnish a means of suspending

the legislative power and duty of a quorum.” Attorney General v. Shepard, 62 N.H. 383,

383 (1882).

      The district court stated that “[i]f no affirmative act or particular disposition of

a member is necessary to count towards the quorum, it would be odd for the Framers

to place a provision requiring a member’s attention or participation in the latter half of

the Quorum Clause.” ROA.1375. “Instead,” the court continued, “the most natural
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reading based on this provision’s placement in the Constitution is that it allows a

minority of members to force members who are not present at the House’s meeting to

physically appear so that a quorum may be reached and business can be conducted.”

Id. That reading led the district court to conclude that “[w]hen a majority of members

are revealed to be [physically] absent, the Quorum Clause gives the House two options:

adjourn or compel the attendance of absent members.” ROA.1391. But Article I gives

Congress the responsibility to determine who of its members are present or absent.

U.S. Const. art. I, § 5, cl. 2-3. And short of compelling the attendance of physically absent

members (such as those a house deems unable to physically gather due to a national

emergency) nothing in the Quorum Clause prevents a house from allowing those

members to be counted as present when the house believes that special circumstances

make it appropriate for members to conduct business remotely.

       In quoting several dictionaries published close in time to the ratification of the

Constitution, the district court understood that the Framers did not contemplate

members being present to conduct business by video phone, email, electronic

document sharing, etc. See ROA.1373-75. However, the district court erred in

effectively concluding that because the Framers did not contemplate such technological

advancement, the Quorum Clause prohibits Congress from considering those advances

when deciding whether to deem some of its members present by proxy. This is akin to

the false argument that the Second Amendment does not protect modern sporting rifles

that were unknown to the musket-bearing Framers. See Bianchi v. Brown, No. 21-1255,
                                            16
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-- F.4th --, 2024 WL 3666180, *49 (4th Cir. Aug. 6, 2024) (en banc) (Richardson, J.,

dissenting).

       The absence of any text in the Quorum Clause limiting Congress’s ability to

define what constitutes the presence or absence of a member is magnified by the clause

immediately following it: “Each house may determine the rules of its proceedings.”

U.S. Const. art. I, § 5, cl. 2. Simply put, there is nothing in the text of the Constitution

to suggest that the House or Senate lacks the power to enact an emergency proxy voting

rule. Where the text of the Constitution does not support it, the Court should certainly

not read into it “[a]n arbitrary, technical, and exclusive method of ascertaining whether

a quorum is present, operating to prevent the performance of official duty and obstruct

the business of government.” Ballin, 144 U.S. 1, 9 (1892) (quoting Att’y Gen. v. Shepard,

62 N.H. 383, 383 (1882)).

III.   The Ruling Below Would Debilitate Congress In Times Of National
       Emergency, Threaten Longstanding Senate Procedures, And Threaten
       Critical Components Of The Appropriations Act.

       A.      The Ruling Below Would Hamstring Both Houses from
               Responding to National Emergencies.

       The district court held that absent a majority of physically present members, a

house has only “two options: adjourn or compel the attendance of absent members.”

ROA.1391. Left intact, that holding would dramatically hamper both houses of

Congress—no matter which political party leads them—in their efforts to continue

legislating and to maximize participation during a future national emergency. This


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could include new and more deadly pandemics, terrorist attacks, or acts of war. It is

little comfort that the district court left open the possibility of allowing Congress to

establish a quorum during a national emergency without the physical presence of

members who have been killed or left incapacitated. ROA.1362 n.19 (stating that this

case does not involve circumstances in which “terrorists could shut Congress down by

killing or incapacitating a sufficient number of Representatives or Senators”) (internal

citation omitted).    There are any number of emergencies, short of killing or

incapacitation, that could temporarily prevent members from participating in a vote.

Yet surely the Framers gave Congress the authority to function in those circumstances

as well. To read the Quorum Clause otherwise is to cripple Congress’s ability to legislate

in the very moments the country most needs Congress to act.

      B.     The Ruling Below Threatens Longstanding Senate Procedures
             Essential to Its Functioning.

      The decision below would also significantly impair the daily operations of the

Senate. Of particular concern to Senator McConnell is how the opinion below

threatens two hundred years of history and tradition in the Senate, endangering

longstanding Senate procedures. Much of the business the Senate transacts—both on

the legislative and executive calendars—is accomplished via complex processes of

unanimous consent. Importantly, the final legislative action taken by the Senate in these

unanimous consent exercises is typically during what is termed “wrap up,” at which

time the Majority Leader or his designee runs through all the agreed upon matters,

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calling voice votes and presenting measures or matters for adoption without objection,

often only in the presence of the presiding officer. While a quorum is presumed in

those situations under Senate rules and precedents, this would easily run afoul of any physical

presence requirement.

       As Appellants explain, the practice of unanimous consent originated in the

Senate as early as 1789. Appellants’ Br. at 33. The first recorded unanimous consent

agreement in the Senate was on March 24, 1846. Id. Under the unanimous consent

process, there is no recording of the yeas and nays. As such, it is almost universally the

case that the unanimous consent process is employed when there is well less than a

majority of senators present. Again, it is often as few as two in the room: one serving

as the presiding officer, the other requesting consent to pass a measure. The same holds

true for voice votes. When a voice vote is called for, the presiding officer asks for all

in favor to say “aye” and all in favor say “nay,” and the chair then decides which side

has prevailed. However, a voice vote may also occur when the presiding officer states,

“Without objection the amendment [bill, resolution, motion, etc.] is agreed to [or not

agreed to].”8 This process is thus practically indistinguishable from unanimous consent.

       The district court attempted to distinguish between proxy voting on one side and

unanimous consent and voice votes on the other side by reasoning that the latter




8
 Walter J. Oleszek, Voting in the Senate: Forms and Requirements, CONGRESSIONAL RESEARCH SERVICE
(May 19, 2008), https://tinyurl.com/5faky6wm.
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procedures operate on the “presumption” of a quorum, which can be broken with only

a single objection.    ROA.1386-91.     The district court’s technical distinction is

unconvincing. For one thing, it finds no support within its own textual analysis

concerning the meaning of “attendance” and “absent.” Under the district court’s logic,

one can “presume” physical presence because at some point in the past 12 or 24 months,

tracing back to the initial convening of the term of Congress, a majority of members

were physically present in the Chamber. Yet, by the same token, the district court

deems it anathema to the Constitution that a house of Congress count as present a

member who certifies his or her vote with the assistance of another member who is

physically located on the House Floor. Moreover, while a majority was physically

present at the beginning of the Congress when a quorum was initially established, so

too was a majority physically present when the House adopted the proxy voting rule at

issue. Both proxy voting and the presumption of a quorum derive from the power of

Congress to establish its own rules.

      A core function of the Senate that often relies upon voice votes and unanimous

consent is to provide “Advice and Consent” for the appointment of “Ambassadors,

other public Ministers and Consuls, Judges of the supreme Court, and all other Officers

of the United States.” U.S. Const. art. II, § 2. Given the sheer volume of ambassadors,

judges, cabinet secretaries, high ranking military officials, and other Officers of the

United States, unanimous consent and voice votes are essential to the Senate’s

productivity. In our nation’s history, some 69 Supreme Court justices were confirmed
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by voice vote (of the 116 confirmed)9— 59 percent of all justices serving in the Nation’s

history. While the contentious nature of Supreme Court nominations today makes

voice votes all-but impossible, the practice has continued for other non-controversial

judges. As just one example, in 2007 Judge Reed O’Connor was confirmed to the

United States District Court for the Northern District of Texas by voice vote.10 It is

highly unlikely that a physical quorum was present for that action.

          The numbers are even more significant for military promotions, many of which

must be confirmed by the Senate.11 It does so en bloc and by unanimous consent. This

reality was on full display last year when Alabama Senator Tommy Tuberville delayed

for ten months the promotion of hundreds of military flag officers by denying

unanimous consent in order to express his opposition to President Biden’s unlawful

provision of abortion in the Department of Defense.12 When Senator Tuberville lifted

his hold on the nominations, 422 promotions were agreed to by voice vote.13 These

confirmations occurred without the need for any more than two senators in the



9
   Supreme Court Nominations (1789-Present), U.S. SENATE (last visited Aug. 13, 2024),
https://tinyurl.com/32zkbubr.
10
 Nomination of Reed Charles O’Connor, PN693 (110th Cong.), CONGRESS.GOV (last accessed
Aug. 13, 2024), https://tinyurl.com/2srenpj8.
11
  The Senate Committee on Armed Services processes 50,000 civilian and military nominations each
year, the vast majority of which are military promotions. See U.S. Senate Committee on Armed
Services, “Committee Actions: Nominations” (last accessed Aug. 13, 2024),
https://tinyurl.com/3u2xcp3f.
12
 Kate Santaliz, et al., Senate confirms 425 military nominees after Sen. Tommy Tuberville drops his hold, NBC
NEWS (Dec. 5, 2023), https://tinyurl.com/ysdhdvvt.
13
     Daily Digest, U.S. SENATE (Dec. 5, 2023), https://tinyurl.com/py9dk8wb.
                                                    21
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Chamber at a time, Majority Leader Chuck Schumer, and Vermont Senator Peter

Welch, who served as the presiding officer.14

       While military officers are a glaring example of the necessity for the Senate to

operate under its own established rules, the list of measures or matters that are agreed

to via unanimous consent exercises is long. Senate resolutions—including resolutions

authorizing action by Senate Legal Counsel—are almost always passed through the

unanimous consent process. Non-controversial, bipartisan legislation moves every

week in wrap up.

       Without procedures for conducting business without a majority physically

present on the floor of the Senate, business would grind to a halt. While the opinion

below abjures this result, its logic threatens it nonetheless.

       C.     An Affirmance by this Court Holding the Appropriations Act
              Unconstitutionally Enacted Would Threaten Numerous Unrelated
              Laws Currently on the Books.

       While this appeal only deals with the Pregnant Worker Fairness Act, many other

unrelated pieces of legislation rode on the Appropriations Act. A holding by this Court

that the underlying bill was constitutionally defective would invite follow-on

constitutional challenges to many of those existing laws.




14
    U.S. Senate Floor Proceedings, C-SPAN, Dec. 5, 2023, 04:32:41 PM, available at
https://tinyurl.com/bdectuay.


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       It is customary for appropriations or other “must pass” legislative vehicles to

include several “extraneous matters” that are added to the bill to secure their enactment.

These bills are ones that enjoy bipartisan support and, to be included, have the approval

of the four House and Senate Leaders as well as the chairmen and ranking members of

the House and Senate committees of jurisdiction.15

       Among the extraneous matters included in the Appropriations Act were:

            The Electoral Count Reform and Presidential Transition Improvement
             Act of 2022 (Division P) (a bill by Maine Senator Susan Collins and West
             Virginia Senator Joe Manchin to reform the process of counting electoral
             votes in presidential elections, including litigation reforms);

            The No TikTok on Government Devices Act (Division R) (a bill by
             Missouri Senator Hawley to ban the Chinese spy application, TikTok, on
             government phones);

            The SECURE 2.0 Act (Division T) (a significant reform of the regulation
             of retirement plans);

            An extension of the authorization for the special assessment for the
             domestic trafficking victims fund (Division X) (providing for a continued
             special assessment imposed on human traffickers);



15
   See Br. of Amici Curiae of Senator Mitch McConnell et al., Nat’l Horsemen’s Benevolent & Protective
Ass’n v. Black, No. 23-10520, 2023 WL 5277700 (5th Cir. 2022) at *10 (“In fact, in order for authorizing
legislation like HISA to be included in appropriations legislation, it must be so un-controversial that
its inclusion is approved by the senior Republican and Democratic members of caucus and conference
leadership, of the appropriations committees, and of the authorizing committees. Therefore, in order
to have been included in this appropriations bill it would have needed the support of twelve senior
legislators in Congress.” (emphasis in original)).




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           The Merger Filing Fee Modernization Act of 2021 (Division GG) (a bill
            by Iowa Senator Chuck Grassley and Minnesota Senator Amy Klobuchar
            to increase some Hart-Scott-Rodino Act (HSR Act) filing fees and
            concomitantly increase the authorizations for the Federal Trade
            Commission and Department of Justice);

           The Fairness for 9/11 Families Act (Division MM) (a bill authorizing
            catch-up payments for certain families of 9/11 victims as well as victims
            of the Khobar Towers and Beirut barracks bombings).

See 136 Stat. at 5233-41, 5258-59, 5275-404, 5523, 5967-70, 6106-11.

      These are consequential pieces of legislation, affecting everything from

retirement plans to 9/11 victims to the mechanics of choosing a President this

November. If the opinion below is affirmed, the courts, and the Fifth Circuit in

particular, will be open for business to aggrieved plaintiffs eager to apply the holding to

their extraneous matters. Texas’s challenge will be followed by challenges from merging

multinational companies wanting to avoid their HSR Act filing fees, from a Chinese

tech company trying to spy on federal employees, and from child traffickers dodging

payments for their victims.

      The ramifications would not end there. Division E, Title III, § 306 of the

Appropriations Act even included the standard authorizing extensions of “temporary

judgeships” in the District of Kansas, the District of Hawaii, the Eastern District of

Missouri, the Central District of California, and the Western District of North Carolina.

See 136 Stat. at 4671-72. Three of these courts likely had vacancies in existence during




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the authorizing period covered by the Appropriations Act.16 If the Appropriations Act

was unconstitutionally enacted, it is unclear whether the Kansas and North Carolina

seats still exist and it is entirely possible that a judge currently sitting in Los Angeles was

appointed to a seat that has actually vanished. The full legal and practical implications

of affirming the district court’s ruling are hard to fathom.

                                          *      *        *

       There are good reasons to criticize proxy voting, and particularly good reasons

to have criticized the use of proxy voting in December 2022. But not every principled

disagreement has a remedy in court. Because the decision below undermines the

constitutional powers assigned to Congress, it cannot stand.




16
  Given life tenure, “temporary judgeships” are enacted by establishing a set point in the future when
the first subsequent vacancy shall not be filled. See The 21st Century Department of Justice
Appropriations Authorization Act, Pub. L. No. 107-273, 116 Stat. 1758, 1788.
                                                 25
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                               CONCLUSION

     For the foregoing reasons, the judgment should be reversed.

                                             Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitations of Federal Rule of Appellate

Procedure 29(a)(5) because it contains 6,353 words, excluding the parts exempted by

Federal Rule of Appellate Procedure 32(f) and Fifth Circuit Rule 32.2.

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of Appellate Procedure 32(a) because it has been prepared in a proportionally spaced

typeface using Microsoft Word in 14-point Garamond font.

      Dated: August 16, 2024                               /s/ William P. Barr
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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 16, 2024, I caused the foregoing brief to be

electronically filed with the United States Court of Appeals for the Fifth Circuit using

the Court’s CM/ECF system, which will effectuate service upon all parties.

      Dated: August 16, 2024                                /s/ William P. Barr
